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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ALLIANCE FOR RETIRED
 AMERICANS, et al.,
      Plaintiffs,
                                                            Civil Action No. 25-313 (CKK)
         v.

 SCOTT BESSENT, Secretary, U.S.
 Department of the Treasury, et al.,
       Defendants.


                            MEMORANDUM OPINION & ORDER
                                  (February 11, 2025)

       On February 5, 2025, Plaintiffs filed a [8] Motion for Temporary Restraining Order. On

February 6, after a hearing on the record, the parties negotiated and filed a joint motion requesting

that the Court order Defendants not to take certain actions and defer ruling on the Plaintiffs’ Motion

for Temporary Restraining Order. Joint Mot., ECF No. 12. With the parties’ consent, the Court

granted that joint motion. Order, ECF No. 13. Simultaneously, the Court converted Plaintiffs’

Motion for Temporary Restraining Order into a Motion for Preliminary Injunction and set a

briefing schedule on that motion. Min. Order, ECF No. 13. Defendants’ opposition to the Motion

for Preliminary Injunction is due tomorrow, February 12, 2025. Id.

       Today, February 11, Plaintiffs moved for leave to file supplemental declarations supporting

their request for a preliminary injunction and filed a memorandum in support of that motion. Pls.’

Mot., ECF No. 16; Pls.’ Mem., ECF No. 16-1.            Plaintiffs report that they conferred with

Defendants regarding this motion and that Defendants are opposed. Pls.’ Mot. at 1. On the present

record, the Court will GRANT Plaintiffs’ [16] Motion to Supplement for good cause shown but

HOLD IN ABEYANCE this Memorandum Opinion & Order on terms described below.



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                                         I. DISCUSSION

       Local Rule of Civil Procedure 65.1(c) provides that an application for a preliminary

injunction “shall be supported by all affidavits on which the plaintiff intends to rely.”

Supplemental affidavits to such an application “may be filed only with permission of the Court.”

LCvR 65.1(c). The Local Rules do not clarify when the Court should grant that permission. But

other courts in this District have required a showing of “good cause” for leave to supplement.

Oceans v. U.S. Dep’t of Interior, No. 24-cv-141, 2024 WL 3104945, at *3 (D.D.C. June 24, 2024)

(RCL). And applying a Circuit Rule with similar practical import, the U.S. Court of Appeals for

the D.C. Circuit has adopted the same “good cause” requirement. See Twin Rivers Paper Co. v.

SEC, 934 F.3d 607, 614 (D.C. Cir. 2019) (discussing D.C. Circuit Rule 28(a)(7)). Accordingly,

the Court considers whether there is good cause to allow Plaintiffs to supplement the record here.

       Plaintiffs, three organizations, move to supplement the record to include seven declarations

from individual members “regarding their interests” in the subject of this litigation. Pls.’ Mot. at

1. In other words, Plaintiffs seek leave to file supplemental declarations in an effort to further

support their argument for associational standing. See Pls.’ Mem. at 1–2 (discussing Plaintiffs’

understanding of the required showing). In the context of this litigation, the Court concludes that

Plaintiffs have demonstrated good cause for supplementing the record for three reasons.

       First, at the time Plaintiffs filed their Motion for Preliminary Injunction, they were not

subject to the requirements of Local Rule 65.1(c). Local Rule 65.1 governs applications for both

preliminary injunctions and applications for temporary restraining orders. But Local Rule 65.1(c)

applies only to “[a]n application for a preliminary injunction.” And at the time Plaintiffs would

have been required to comply with Local Rule 65.1(c)’s requirement that the “application be

supported by all affidavits on which the plaintiff intends to rely,” Plaintiffs had not filed such an



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application. Their motion was a Motion for Temporary Restraining Order until this Court

converted it into a Motion for Preliminary Injunction. See Min. Order (Feb. 6, 2025).

           Second, Plaintiffs’ stated justification for filing the supplemental declarations is adequate.

Plaintiffs filed three declarations in support of their initial Motion for Temporary Restraining

Order in a good-faith effort to establish the prerequisites for associational standing.                           See

Declarations, ECF Nos. 8-2, 8-3, 8-4. And Plaintiffs explain, in summary form, why they believed

those declarations were—and are—sufficient to show their likelihood of success in demonstrating

standing at the preliminary-injunction stage.                  See Pls.’ Mem. at 1–2. (“At the preliminary

injunction stage, . . . identification of individual members is not necessary . . . .”). 1 But two

business days ago, in another case in this District presenting similar issues and in which Plaintiffs’

counsel is counsel of record, Judge John D. Bates denied the plaintiffs’ motion for a temporary

restraining order and held that similar declarations were insufficient to establish associational

standing. See Order (ECF No. 12), AFL-CIO v. Dep’t of Lab., No. 25-cv-339 (D.D.C. Feb. 7,

2025) (JDB). Now, “to eliminate any potential concern” on the same points Judge Bates raised,

Plaintiffs seek leave to file their supplemental declarations. Pls.’ Mem. at 2–3. This is precisely

the scenario in which the D.C. Circuit has found good cause to excuse violations of its Circuit Rule

28(a)(7): Plaintiffs “believed that the initial filings before the court had sufficiently demonstrated

standing” but now believe that supplements would buttress their arguments. Twin Rivers, 934 F.3d

at 614 (quoting Ctr. for Sustainable Econ. v. Jewell, 779 F.3d 588, 599 (D.C. Cir. 2015)).

           Third, the timing and content of Plaintiffs’ motion does not work substantial undue

prejudice on Defendants. This is not a case where Plaintiffs’ supplemental affidavits “raise entirely

new theories of standing” of which Defendants had no notice. Oceans, 2024 WL 3104945, at *5.



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    The Court expresses no view on whether Plaintiffs are correct in their analysis at this time.

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Nor would allowing Plaintiffs to supplement the record leave Defendants with “no opportunity to

respond” to their declarations. Id. at *3 (quoting Nguyen v. U.S. Dep’t of Homeland Sec., 460 F.

Supp. 3d 27, 34 (D.D.C. 2020) (APM)). Instead, Plaintiffs affidavits purport to support the theory

of associational standing they articulated at the Court’s February 5 hearing—a theory Defendants

represented they were preparing to address. See Tr. of Hearing, ECF No. 14 at 17:2–6, 18:8–17.

And Plaintiffs filed their request to supplement the record before Defendants’ deadline for

opposing the Motion for Preliminary Injunction. See Min. Order (Feb. 6, 2025).

       For these three reasons, the Court concludes that Plaintiffs have demonstrated good cause

to supplement the record and will GRANT Plaintiffs’ [16] Motion to Supplement the Record under

Local Rule 65.1(c).

       At present, Defendants have indicated to Plaintiffs that they oppose Plaintiffs’ Motion to

Supplement. Pls.’ Mot. at 1. Because Defendants’ response to Plaintiffs’ Motion for Preliminary

Injunction is due tomorrow, the Court resolved Plaintiffs’ Motion to Supplement before

Defendants docketed the basis for their opposition. To ensure Defendants have an opportunity to

be heard on this issue, the Court will HOLD IN ABEYANCE this Memorandum Opinion and

Order until 5:30 PM ET tonight, February 11, 2025. Defendants may, if they so choose, file an

opposition to the Motion to Supplement addressing that motion and this Court’s analysis by 4:30

PM ET this afternoon, February 11, 2025. Because the Court is sensitive to the demands

Plaintiffs’ supplements may place on defense counsel, Defendants may include in this opposition

a request for a brief extension of time to file their response to Plaintiffs’ Motion for Preliminary

Injunction. In no event will such an extension affect the date of the hearing on the Motion for

Preliminary Injunction, which shall remain February 24, 2025 at 2:00 PM ET.




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                              II. CONCLUSION & ORDER

      In light of the foregoing, the Court hereby ORDERS that:

         •   Plaintiffs’ [16] Motion to Supplement the Record is GRANTED; and that

         •   This Order is HELD IN ABEYANCE until 5:30 PM ET on February 11, 2025.



SO ORDERED.

DATED: February 11, 2025.

                                                         /s/
                                                 COLLEEN KOLLAR-KOTELLY
                                                 United States District Judge




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